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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
RHONDA T. EDEN,                               :
                                              :       CASE NO. 17-40811-BEM
                                              :
                       Debtor.                :



                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that Tracey L. Montz, Chapter 7 Trustee for the above
referenced Debtor has filed her Motion For Authorization to Sell the Estate’s Interest in Certain
Personal Property and for Authority to Pay Certain Claims from Proceeds of Sale on February
12, 2019, (Dkt.#88) (the “Motion”) and Amended Motion on February 13, 2019 (Dkt.#90),
seeking an order approving the sale of personal property known as the membership interest in
Eden Oak Properties, LLC to Eden Rock Real Estate Partners, LLC for $1,325,000.00, a good
faith purchaser and disinterested party. The Trustee believes a sale is in the best interest of the
Estate and seeks the Court’s approval of the proposed sale.

       NOTICE IS HEREBY GIVEN that a hearing is scheduled for February 27, 2019, at
9:25 a.m. in Courtroom 342, United States Courthouse, 600 E. First St., Rome, Georgia, to
consider the Motion.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one. If you do not want the Court to grant the relief
sought in this pleading or if you want the Court to consider your views, then you and/or
your attorney must attend the hearing.



         Dated: February 13, 2019
                                              s/ John C. Pennington
                                              John C. Pennington
                                              Georgia Bar No. 571400
                                              Attorney for Trustee
JOHN C. PENNINGTON, P.C.
P.O. Box 275
Helen, Georgia 30545
(770) 530-5075
jcppc@windstream.net
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
RHONDA T. EDEN,                               :
                                              :       CASE NO. 17-40811-BEM
                                              :
                       Debtor.                :

                                 CERTIFICATE OF SERVICE

         THIS IS TO CERTIFY that I have this date served a true and correct copy of the

NOTICE OF HEARING dated February 13, 2019, upon each of the following by depositing same

in the United States Mail, first class postage prepaid, and properly addressed as set forth on

Exhibit “A” hereto.

                           SEE EXHIBIT “A” ATTACHED HERETO

         Dated: February 13, 2019




                                              s/ John C. Pennington
                                              John C. Pennington
                                              Georgia Bar No. 571400
                                              Attorney for Trustee
JOHN C. PENNINGTON, P.C.
P.O. Box 275
Helen, Georgia 30545
(770) 530-5075
jcppc@windstream.net
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A. Michelle Hart Ippoliti, Esq.           ACE                                   American Express
McCalla Raymer                            2200 Kensington Court                 P.O. Box 981535
1544 Old Alabama Rd                       Oak Brook, IL 60523-2100              El Paso, TX 79998-1535
Roswell, GA 30076




American Express Bank, FSB                AMERICAN HONDA FINANCE                American Honda Motor, Inc.
c/o Becket and Lee LLP                    P O BOX 168088                        1919 Torrance Boulevard
PO Box 3001                               IRVING TX 75016-8088                  Torrance, CA 90501-2746
Malvern PA 19355-0701




AMERICREDIT FINANCIAL SERVICS DBA GM      ARI                                   BCS
FINAN                                     10850 W Park Place                    4859 N. Lagoon Ave.
PO BOX 183853                             Suite 1200                            Portland, OR 97217-7633
ARLINGTON TX 76096-3853                   Milwaukee, WI 53224-3635




Belt South Capital Corporation            Blalock Machinery                     Brad Cowart
3045 Knight Avenue                        500 Jerry Steele Lane                 HighlandsBrokers.com
Waycross, GA 31503-9518                   McDonough, GA 30253-7509              1124 North Tennessee St
                                                                                Cartersville, GA 30120-7937




Brian S. Limbocker                        Browning Straw Company                C-systems Software Inc.
Limbocker Law Firm, LLC                   P.O. Box 168                          2201 Arlington Downs Road
Bldg. 800 - Suite 140                     Alamo, GA 30411-0168                  Arlington, TX 76011-6319
2230 Towne Lake Parkway
Woodstock, GA 30189-5542



CAPITAL ONE                               Capital One                           Capital One Bank (USA), N.A.
PO BOX 30285                              c/o Becket and Lee, LLP               PO Box 71083
SALT LAKE CITY UT 84130-0285              PO Box 3001                           Charlotte, NC 28272-1083
                                          Malvern, PA 19355-0701




Carpet Express                            Cartersville Medical Center           Cartersville Medical Center
P.O. Box 279                              Resurgent Capital Services            P.O. Box 406087
Ash Flat, AR 72513-0279                   PO Box 1927                           Atlanta, GA 30384-6087
                                          Greenville, SC 29602-1927




Chase                                     Cherokee County Tax Commissioner      Chris Eden
P.O. Box 15298                            270 Marietta Hwy                      PO Box 28083
Wilmington, DE 19850-5298                 Canton, GA 30114                      Atlanta, GA 30358-0083




Chris Eden                                Chris Eden                            Cintas
c/o Howard Slomka, Esq.                   C/O Ronald F. Debranski II Attorney   P.O. Box 630910
Slipakoff & Slomka                        321 Creekstone Ridge                  Cincinnati, OH 45263-0910
2859 Paces Ferry Rd., Suite 1700          Woodstock, GA 30188-3745
Atlanta, GA 30339



CITIBANK                                  Coca Cola                             Coca Cola Refreshments
PO BOX 790034                             One Coca- Cola Plaza NW               605 Lake Kathy Drive
ST LOUIS MO 63179-0034                    USA 1217C-1                           Brandon, FL 33510-3904
                                          Atlanta, GA 30313-2420
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Cornerstone Bank                      Country Home Products               Damon Rose
2060 Mt. Paran Rd., NW                75 Meigs Road                       DDR Limited, LLC
Suite 100                             Vergennes, VT 05491-8905            4725 Northside Dr.
Atlanta, GA 30327-2935                                                    Atlanta, GA 30318




Discover Bank                         Discover Fin Svcs Llc               Doreen Morgan
Discover Products Inc                 Po Box 15316                        Sunbelt Business Brokers
PO Box 3025                           Wilmington, DE 19850-5316           4470 Chamblee Dunwoody Rd, Suite 460
New Albany, OH 43054-3025                                                 Atlanta, GA 30338




Dsnb Macys                            Eden Oak Properties, LLC            Ellett Brothers
9111 Duke Blvd                        6437 Highway 92                     267 Columbia Ave.
Mason, OH 45040-8999                  Acworth, GA 30102-7524              Chapin, SC 29036-8322




Employers Prefferred Ins. CO.         Eric A. Ballinger                   Fed Loan Serv
14120 Ballantyne Corporate Pla        P.O. Box 450                        Po Box 60610
ste. 100                              Canton, GA 30169-0490               Harrisburg, PA 17106-0610
Charlotte, NC 28277-2685




Freight Quote.com                     Gardner of FL                       GEORGIA DEPARTMENT OF REVENUE
901 West Carondelet Drive             3641 Interchange Road               COMPLIANCE DIVISION
Kansas City, MO 64114-4674            Columbus, OH 43204-1499             ARCS BANKRUPTCY
                                                                          1800 CENTURY BLVD NE SUITE 9100
                                                                          ATLANTA GA 30345-3202



Gloves Inc.                           GM Financial                        HARBIN CLINIC LLC
1950 Collins Blvd.                    P.O. Box 183834                     C/O NATIONWIDE RECOVERY SERVICE
Austell, GA 30106-3661                Arlington, TX 76096-3834            P.O. BOX 8005
                                                                          CLEVELAND, TN 37320-8005




Harbin Clinic- BAD ADDRESS            Harrison Gross, Esq.                Heather Bock, Esq.
1825 Martha Berry Blvd.               McCall Rayner                       McCall Raymer
Rome, GA 30165-1625                   1544 Old Alabama Rd                 1544 Old Alabama Rd
                                      Roswell, GA 30076                   Roswell, GA 30076




Honda Fiance Services                 Husqvarna BAD ADDRESS               Internal Revenue Service
20800 Madrona Ave.                    75 Remittance Drive                 P.O. Box 7346
Torrance, CA 90503-4915               Suite 6869                          Philadelphia, PA 19101-7346
                                      Chicago, IL 60675-6869




Jerry Pate Turf & Irrigation          John C. Pennington, P.C.            K & M Hardware, Inc.
Dept. 1866                            PO Box 275                          6437 Highway 92
P.O. Box 2153                         Helen, GA 30545                     Acworth, GA 30102-7524
Birmingham, AL 35287-1866




Kawasaki Motors Corp BAD ADDRESS      Kelly Waits, Esq.                   Kohls/capone
9950 Jeronimo Road                    Burr & Forman, LLP                  N56 W 17000 Ridgewood Dr
Irvine, CA 92618-2014                 171 Seventeenth St., Suite 1100     Menomonee Falls, WI 53051-7096
                                      Atlanta, GA 30363
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KW Commercial Atlanta Perimeter         Lee Lawn Equipment Enterprises           M & W Investments
115 Perimeter Place, Suite 100          3045 Knight Avenue                       c/o Gregory, Doyle, Calhoun & Rogers
Atlanta, GA 30346                       Waycross, GA 31503-9518                  Attn: C. George Kleeman IV
                                                                                 49 Atlanta, St
                                                                                 Marietta, GA 30060-1977



M&W Investment                          Maria Tsagaris, Esq.                     Marietta Surgical Center
120 Chastain Rd. Unit 2201              McCalla Raymer                           P.O. Box 920187
Kennesaw, GA 30144-6223                 1544 Old Alabama Rd                      Norcross, GA 30010-0187
                                        Roswell, GA 30076




Mitchell S. Rosen, Esq,                 MTA Distributors                         National Registered Agents- BAD ADDRESS
Kitchen Kelley & Gaynes, P.C.           555 Hickory Blvd.                        515 East Park Avenue
Glenridge Highlands One, Suite 800      Whites Creek, TN 37189-9287              Tallahassee, FL 32301-2524
5555 Glenridge Connector
Atlanta, GA 30342



NATIONWIDE RECOVERY SERVICE             Navient                                  Navient Solutions, LLC
PO BOX 8005                             Po Box 9500                              220 Lasley Ave
CLEVELAND TN 37320-8005                 Wilkes Barre, PA 18773-9500              Wilkes-Barre, PA 18706-1430




NPAS, Inc.                              Office of the United States Trustee      Orgill
P.O. Box 99400                          362 Richard Russell Building             4100 S Houston Levee Rd
Louisville, KY 40269-0400               75 Ted Turner Drive, SW                  Collierville, TN 38017-2294
                                        Atlanta, GA 30303-3315




Power Distributors                      Power Distributors (SEDCO)               Purchase Power
P.O. Box 531631                         225 Henry D. Robinson Blvd.              2225 American Drive
Atlanta, GA 30353-1631                  Pendergrass, GA 30567-4653               Neenah, WI 54956-1005




PYGAR USA, Inc.                         RBI Corporation                          Red Iron Acceptance, LLC
123 NW 36th Street                      P.O. Box 9318                            P.O. Box 4531
Suite 202                               Richmond, VA 23227-0318                  Carol Stream, IL 60197-4531
Seattle, WA 98107-4959




REGIONS BANK                            Regions Bankcard                         Regions Business Enhanced
417 20TH ST NORTH                       2050 Parkway Office Cir                  P.O. Box 216
BIRMINGHAM, AL 35203-3295               Hoover, AL 35244-1805                    Birmingham, AL 35201-0216




Rhonda T Eden                           SA White Oil Company                     Southeast Anesthesia, PC BAD ADDRESS
14 Foxhound Way, SW                     590 Atlanta Street                       P.O. Box 2260
Cartersville, GA 30120                  Marietta, GA 30060-2229                  Cartersville, GA 30120-1688




STIHL                                   Stonebridge Accounting & Forensics LLC   Sunbelt
2304 W. Taft Vineland Road              Spence A. Shumway, CPA                   5100-H West WT Harris Blvd.
Orlando, FL 32837-7837                  P.O. Box 1290                            Charlotte, NC 28269
                                        Grayson, GA 30017-0025
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Sunbelt Outdoor Products                        U. S. Attorney                     US Dept of Education
29962 Network Place                             600 Richard B. Russell Bldg.       c/o FedLoan Servicing
Chicago, IL 60673-1299                          75 Ted Turner Drive, SW            PO Box 69184
                                                Atlanta GA 30303-3315              Harrisburg, PA 17106-9184




WELLS FARGO BANK NA                             Wells Fargo Bank, N.A.             Wells Fargo Commercial Dist. Finance
WELLS FARGO HOME MORTGAGE AMERICAS              Attn: Sharilyn Kelley              A. Todd Sprinkle, Esq.
SERVICING                                       4101 Wiseman Blvd                  Parker, Poe Adams & Bernstein
ATTN BANKRUPTCY DEPT MAC X7801-014              Bldg 205, Floor 01                 1180 Peachtree St., Suite 3300
3476 STATEVIEW BLVD                             San Antonio, TX 78251-4200         Atlanta, GA 30309
FORT MILL SC 29715-7203


Wells Fargo Commercial Distrib BAD ADDRESS
500 West Monroe St.
Chicago, IL 60661-3671
